Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 1 of 9




          EXHIBIT A
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 2 of 9
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 3 of 9
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 4 of 9
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 5 of 9
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 6 of 9
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 7 of 9
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 8 of 9
Case 3:20-cv-30089-KAR Document 1-1 Filed 06/18/20 Page 9 of 9
